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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA

               v.                                       Case No.: 24-cr-50-JDP

 STEVEN ANDEREGG,

                        DEFENDANT.


       GOVERNMENT NOTICE OF EXPERT TESTIMONY – RYAN RICKABY


       The United States of America hereby provides to the defendant the disclosures

required by Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, pertaining to the

anticipated expert witness testimony of Digital Evidence Specialist (DES) Ryan Rickaby

from the Division of Criminal Investigation within the Wisconsin Department of Justice. As

required by Rule 16, this disclosure includes a complete statement of all opinions rendered

by this witness that the government intends to use during its case-in-chief at trial under Fed.

R. Evid. 702, 703, or 705. It additionally includes the bases and reasons for the opinions of

the witness, the qualifications of the witness, publications authored by the witness in the

previous ten years, and a list of all other cases in which the witness has testified as an expert

in the previous four years. See Fed. R. Crim. P. 16(a)(1)(G)(iii).

       As explained below, the United States anticipates that DES Rickaby will provide

testimony regarding, among other things, the extraction and examination of data from

digital devices. The government submits that DES Rickaby will not necessarily be providing

expert “opinions,” as that term is contemplated under Fed. R. Crim. P. 16(a)(1)(G)(iii), but
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rather he will explain how certain forensic processes work, why the processes are reliable,

and how he applied those processes to his work in this case. In this sense, DES Rickaby is

expected to explain technical matters in a way that helps the jury understand the evidence.

See Fed. R. Evid. 702. Nevertheless, out of an abundance of caution, and to the extent that

DES Rickaby’s anticipated testimony may arguably contain expert opinions, the government

provides this notice to the defense as to DES Rickaby’s anticipated testimony pursuant to

Fed. R. Crim. P. 16(a)(1)(G)(i) and (iii).

                     Qualifications, Publications, and Prior Testimony

       DES Rickaby is employed by the Wisconsin Department of Justice’s Division of

Criminal Investigation as a Digital Evidence Specialist. He has held that position since 2023.

Prior to that, he attended Champlain College, where he received a Bachelor of Science

degree in Computer Forensics and Digital Investigations and an undergraduate certificate

in Cybersecurity Fundamentals. In his capacity as a Digital Evidence Specialist, DES

Rickaby conducts forensic analysis of seized computer devices, mobile devices, and other

electronic media to provide investigative and analytical support and guidance to

prosecutors and other law enforcement agents who are investigating criminal conduct. He

is certified as a Cellebrite Certified Operator, which he obtained after completing multiple

days of training on how to handle and extract data from mobile devices using forensically

sound processes. He has received numerous other trainings on how to use various digital

forensic examination tools and software, including X-Ways Forensics, Griffeye, and

osTriage. He has also completed training on mobile device forensics with the International

Association of Computer Investigative Specialists and numerous trainings on digital



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forensic analysis conducted by the National White Collar Crime Center. DES Rickaby’s

background and qualifications are contained in his Curriculum Vitae, which will be

provided to the defendant in discovery.

       DES Rickaby has not authored any publications in the last ten years.

       DES Rickaby has not testified as an expert in a trial or deposition in the last four years.

                           The Witness’s Anticipated Testimony

       The United States anticipates that DES Rickaby will provide testimony at trial

regarding his background and training, the extraction and examination of data from digital

devices generally, the nature of the extractions and examinations he conducted in this case,

and the methods and tools he used to assist in this work.

       In particular, after testifying about his training and background discussed above, the

United States anticipates that DES Rickaby may testify about: the physical inventorying of

a digital device, such as a laptop or a computer’s hard drive, once it is identified during the

execution of a warrant and submitted as an evidence item in an investigation; the creation

of a forensic image copy of a digital device after its submission into evidence, including the

use of write-blocking technology to protect the integrity of the original evidence item when

creating a forensic image copy of it for examination; the generation and use of a hash value

associated with a digital storage device to verify that the forensic image copy of the device

created through the prior steps is an exact match of the original evidence item; the purpose

behind imaging and hash-matching the original digital evidence item, including to ensure

that the original evidence item is not damaged or altered during any subsequent forensic

examination and that the forensic image copy being analyzed contains the same data as the



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original evidence item; and the reliability of the various programs that he uses to parse,

examine, and analyze the matching data contained on the forensic image copy of the digital

evidence item. He may also testify about the methods and forensic tools he uses to extract

data from cellular telephones, including a forensic tool called Cellebrite Premium.

       DES Rickaby is also expected to testify as to how, with respect to the devices

described below, the above processes were followed to reliably extract exact copies of data

from these devices. In particular, DES Rickaby is expected to testify about the extraction of

data using reliable forensic tools and processes from multiple devices that were seized

during the execution of a search warrant at the defendant’s residence on or about February

22, 2024, including but not limited to the following devices: an MSI laptop bearing serial

number K2208N0036832 that contained a 1024 GB Samsung solid state drive bearing serial

number S676NX0T274696; a Google Pixel 6 Pro bearing IMEI 358339775315120; and a

Google Pixel 8 Pro bearing IMEI 358951614879353. DES Rickaby may also testify about the

process he followed to “preview” these and other devices during the execution of the search

warrant at the defendant’s residence and what evidence he observed on these devices

during this preview, including that certain images were discovered on the MSI laptop. The

reports documenting DES Rickaby’s forensic examination and preview of these devices

were produced in discovery as ANDEREGG-BATES-000228 through ANDEREGG-BATES-

000237 on June 4, 2024. Those reports are incorporated in this notice pursuant to Fed. R.

Crim. P. 16(a)(1)(G)(iv) and the information contained in them will therefore not be repeated

in full here.

       (Continued on the next page.)



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In accordance with Fed. R. Crim. P.
                                                                         12/12/2024
16(a)(1)(G)(v), I approve this disclosure:         ____________________________
                                                   Ryan Rickaby
                                                   Digital Evidence Specialist
                                                   Wisconsin Department of Justice

       Dated this 13th day of December, 2024.

                                             Respectfully submitted,

                                             STEVEN J. GROCKI
                                             Chief, Child Exploitation & Obscenity Section

                                       By:         /s/

                                             WILLIAM G. CLAYMAN
                                             ROSS B. GOLDMAN
                                             Trial Attorneys




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